Case 1:21-cv-00200-DHU-SMV Document 1-2 Filed 03/08/21 Page 1 of 6

LAW OFFICES

BINGHAM, HURST & APODACA

LILLIAN G. APODACA*
WAYNE E. BINGHAM**
M. DWIGHT HURST

*ALSO LICENSED IN KANSAS
**ALSO LICENSED IN COLORADO

Mr. Steve Eikanger
Flintco, LLC

188 Inverness Dr. West
Englewood, CO 80112

President, Bond Department

Travelers Casualty and Surety
Company of America

One Tower Square, Bond /5PB

Hartford, CT 06183

The Honorable Darrell Paiz
President

Jicarilla Apache Nation
P.O. Box 507

Dulce, NM 87528

A PROFESSIONAL CORPORATION
2420 COMANCHE ROAD, NE
SUITE Hé
ALBUQUERQUE, NEW MEXICO 87107-4633
TEL (505) 881-4545

FAX (505) 889-0988
WWW.BINGHAMHURST.COM

June 30, 2020

BY FIRST CLASS MAIL, BY FAX TO
(720) 778-5601 AND E-MAIL TO
steve.eikanger@flintco.com, receipt
acknowledgement requested

BY FAX TO (888) 201-5586 AND BY
FIRST CLASS MAIL

BY FIRST CLASS MAIL AND BY E-MAIL
TO paiz@yahoo.com

RE: FEDERAL MILLER ACT NOTICE
By: Contreras Construction Corp.
Project: Jicarilla Apache Community Center
37 Hawks Drive
Dulce, NM 87528
Project No. 17025

Gentlepersons:

This firm represents Contreras Construction Corp. (herein Contreras), a sub-contractor
to Flintco, LLC (Flintco), the general contractor in connection with the above Project.

EXHIBIT

:
a
<x
oO
w
—_
w
z
oF
—
a |
—?

 
Case 1:21-cv-00200-DHU-SMV Document 1-2 Filed 03/08/21 Page 2 of 6

Federal Miller Act Notice/Jicarilla Apache Community Center, Project No. 17025
Claimant: Contreras Construction Corp.

June 30, 2020

Page 2 of 2

You are hereby given due written notice that Contreras supplied labor and materials to
Flintco in connection with the Project, and that as of this date, the amount of $104,824.00
remains unpaid to Contreras. The $104, 824.00 consists of two (2) unpaid Contreras invoices
to Flintco: one for $40,000.00, and one for $38,000.00, plus a Contreras invoice in the amount
of $26.824.00 which will be sent to Flintco soon. This demand is timely, as Contreras last
supplied labor and materials to the Project within ninety (90) days of this Notice. See 40
U.S.C. §§3131 through 3133. Note: Flintco has a legal obligation to provide this letter to its
bonding company which, on information and belief, is Travelers Casualty & Surety Company of
America.

Notice, claim and demand for the current balance due ($78,000.00) and soon-to-be
additional balance due of $26,824.00, for a total balance due of $104,824.00 is hereby made
upon Flintco, Flintco’s surety on Flintco’s payment bond, and the Jicarilla Apache Nation .

lf Contreras receives $78,000.00 from Flintco or its surety by July 13, 2020, and an
additional $26,824.00 within 30 days from Contreras’s invoice to Flintco, Contreras will not
commence a Federal Miller Act suit in Federal District Court for the District of New Mexico.
Thank you for your attention to this matter.

Sincerely,

BINGHAM, HURST & APODACA, P.C.

di we E CBA

Wayne E. Bigham

WEB/tgww
cc: Ms. Socorro Contreras (by e-mail)
 

Case 1:21-cv-00200-DHU-SMV Document 1-2 Filed 03/08/21 Page 3 of 6

BINGHAM, HURST & APODACA, P.C.
Attorneys at Law
2420 Comanche Rd., NE, Ste. H-6
Albuquerque, New Mexico 87107
Phone (505) 881-4545 Fax (505) 889-0988
WBingham@BinghamHurst.com

DATE: June 30, 2020

TO: Mr. Steve Eikanger
Flintco, LLC FAX NO. (720) 778-5601
President, Bond Department FAX NO. (888) 201-5586

Travelers Casualty and Surety

FROM: Wayne E. Bingham

 

IF YOU DO NOT RECEIVE ALL OF THE PAGES
PLEASE CONTACT TRISH WALL-WATLINGTON AT 881-4545

 

 

No. pages, including cover pages: 3

RE: FEDERAL MILLER ACT NOTICE
By: Contreras Construction Corp.
Project: Jicarilla Apache Community Center
37 Hawks Drive
Dulce, NM 87528
Project No. 17025

Documents being transmitted and/or message:

PLEASE SEE ATTACHED FEDERAL MILLER ACT NOTICE
HARD COPIES WILL FOLLOW AS INDICATED.

THANK YOU.

NOTE: The information contained in this facsimile message is information intended only for the use of the
individual or entity named above. This information may also be attorney privileged and confidential. If the reader of this
message is not the intended recipient, or the employee or agent responsible to deliver it to the intended recipient, you are
hereby notified that any dissemination, distribution, or copying of this communication is strictly prohibited. If you have
received this communication in error, please immediately notify Bingham, Hurst & Apodaca, P.C. by telephone and
return the original message to us at the above address via the U. S. Postal Service.
08/30/2020 9 of PROF ak: 21-Cv-00200-DHU-SMV Document 1-2 Filed 03/08/21 Page 4 of 6 Boot

 

 

KHER KAKAKKKRKRAKKK EKER KSEE ESE

44% TX Result Report KEK
PSeeeS Teter eet stetessset ett ss

 

TX conplete.
Job No. 0725
Address 18882015586
Name
Start Time 06/30 03:05 PH
Call Length 01'08
Sheets 3
Result ak
BINGHAM, HURST & APODACA, P.C.
Attorneys at Law
2420 Comanche Rd., NE, Ste. H-6
Albuquerque, New Mexico 87107
Phone (505) 881-4545 Fax (505) 889-0988
WBingham@BinghamHurst.com
DATE: June 30, 2020
JO: Mr. Steve Eikanger
Flintco, LLC FAX NO. (720) 778-5601
President, Bond Department FAX NO. (888) 201-5586

Travelers Casualty and Surety

FROM: Wayne E. Bingham

 

IF YOU DO NOT RECEIVE ALL OF THE PAGES
PLEASE CONTACT TRISH WALL-WATLINGTON AT 881-4545

 

 

 

No. pages, including cover pages: 3

RE: - FEDERAL MILLER ACT NOTICE
By: Contreras Construction Corp.
Project: Jicarilla Apache Community Center
37 Hawks Drive
Dulce, NM 87528
Project No. 17025

Documents being transmitted and/or message:

PLEASE SEE ATTACHED FEDERAL MILLER ACT NOTICE
HARD COPIES WILL FOLLOW AS INDICATED.

 
 

Case
FAX

06/30/2020 3:00PH

1:

21-cv-00200-DHU-SMV Document 1-2 Filed 03/08/21 Page 5 of 6 @oo01

 

EKKEKKKKAAKKAKKKKRAK ERA A KEES

ERE TX Result Report KES
KEKKKKKAK ARK EK RK KEELE KEK REEE

TX complete.

Job No. o724

Address 17207785601
Hane

Start Time 06/30 02:59 PM
Call Length 00'59

Sheets 3

Result OK

 

DATE:

TO:

FROM:

BINGHAM, HURST & APODACA, P.C.
Attorneys at Law
2420 Comanche Rd., NE, Ste, H-6
Albuquerque, New Mexico 87107
Phone (505) 881-4545 Fax (505) 889-0988
WBingham@BinghamHurst.com

June 30, 2020

Mr. Steve Eikanger
Flintco, LLC FAX NO. (720) 778-5601

President, Bond Department FAX NO. (888) 201-5586
Travelers Casualty and Surety

Wayne E. Bingham

 

 

IF YOU DO NOT RECEIVE ALL OF THE PAGES
PLEASE CONTACT TRISH WALL-WATLINGTON AT 881-4545

 

No. pages, including cover pages: 3

RE:

‘ FEDERAL MILLER ACT NOTICE

By: Contreras Construction Corp.

Project: Jicarilla Apache Community Center
37 Hawks Drive
Dulce, NM 87528
Project No. 17025

Documents being transmitted and/or message:

PLEASE SEE ATTACHED FEDERAL MILLER ACT NOTICE
HARD COPIES WILL FOLLOW AS INDICATED.

 

 
Case 1:21-cv-00200-DHU-SMV Document 1-2 Filed 03/08/21 Page 6 of 6

Trish Wall {Bingham, Hurst & Apodaca}

From: Trish Wall {Bingham, Hurst & Apodaca} <TWall@BinghamHurst.com>

Sent: Tuesday, June 30, 2020 4:19 PM

To: 'steve.eikanger@flintco.com’; ‘paiz@yahoo.com'

Ce: ‘scontreras@contrerasconstructioncorp.com'

Subject: FEDERAL MILLER ACT NOTICE/Jicarilla Apache Community Center, Project No.
17025/Claimant: Contreras Construction Corp.

Attachments: ccc-flintco-jatc Miller Act Notice 6.30.20.pdf

Importance: High

Gentlemen:

Please see attached Contreras Construction Corp.’s Federal Miller Act Notice pertaining to the above project.

Thank you.

Trish Wall-Watlington

Legal Assistant to

Wayne E. Bingham

Bingham, Hurst & Apodaca, P.C.
2420 Comanche NE, Ste. H-6
Albuquerque, NN 87107
Telephone: (505) 881-4545
